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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ART AKIANE LLC,

               Plaintiff,
                                                       Case No. 19-cv-02952
                            v.
                                                       Judge Edmond E. Chang
ART & SOULWORKS LLC,
CAROL CORNELIUSON,                                     Mag. Judge Jeffrey Cole
CARPENTREE, LLC, and VIRGINIA HOBSON,

               Defendants.



ART AKIANE’S MOTION FOR EXTENSION OF TIME TO PARTIALLY OBJECT TO
   THE ORDER DENYING ART AKIANE’S MOTION TO COMPEL (DKT. 279)

       Plaintiff Art Akiane LLC requests an extension of time to object to the Court’s Order

denying Art Akiane’s Motion to Compel (Dkt. 279), until after the Court’s disposition of Art

Akiane’s Motion for Leave to Serve Two Additional Interrogatories (Dkt. 280) on Defendant Art

& SoulWorks LLC (“ASW”). If this Court grants Art Akiane’s request in Dkt. 280, ASW would

be required to explain its chief defense, i.e. its alleged oral agreements, which would moot Art

Akiane’s need to seek the review of the Order on the Motion to Compel (Dkt. 279). In support of

this Motion, Art Akiane asserts as follows:

       1.      Art Akiane issued various requests with the intent to discover Defendant ASW’s

principal defense of “oral modifications” or “oral agreements” that allegedly altered the parties’

rights. See, e.g., Dkt. 262, Ex. A at 1 (Interrog. 1 to ASW), 15 (Interrog. 21 to Corneliuson).

       2.      Art Akiane disputes the existence of any oral modifications or oral agreements, and

is thus unaware of what ASW will claim are the terms and conditions of those oral modifications

or agreement, who they were with, or even how many oral agreements ASW purports existed.


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       3.      ASW has provided no discovery about its oral modifications/agreement defense

that identifies any terms, conditions, when they occurred or with who, or context that ASW will

advance at trial (whether through document requests or interrogatory answers).

       4.      ASW’s pleadings claim that oral modification(s) or oral agreement(s) modified the

parties’ rights under the License Agreement.

       5.      Art Akiane moved to compel (Dkt. 262) Defendants ASW and Carol Corneliuson

about their alleged oral agreements defense, among other things, and asked Defendants to:

               Identify and describe all instances in which you received permission
               from Art Akiane LLC [or the Kramarik family] to produce,
               reproduce, duplicate, copy, modify, or print Art Akiane’s Works
               from January 11, 2009, to the present pursuant to the Licensing
               Agreement.

Dkt. 262, Ex. A at 1 (Interrog. 1 to ASW), 15 (Interrog. 21 to Corneliuson).

       6.      Art Akiane believed that these Interrogatories requested ASW to provide specifics

describing the terms and the substance of the alleged oral modifications or oral agreements. See

id.

       7.      Judge Cole issued a Memorandum Opinion and Order on November 5, 2011,

(“Order at Dkt. 279”) denying Art Akiane’s Motion to Compel. Dkt. 279.

       8.      Order at Dkt. 279 interpreted the interrogatories differently than what was intended

by Art Akiane and found that: “[a]s written, [the interrogatories] do not pertain to any oral

agreements the parties might have had.” Id. at 21 n. 5 (emphasis added).

       9.      Art Akiane has until November 19, 2021, to file an objection to Order at Dkt. 279.

       10.     Art Akiane issued its interrogatories in good faith to learn and be placed on notice

of the specifics of ASW’s defense of alleged oral modifications/agreements.

       11.     Art Akiane seeks the information about the alleged oral modifications and

agreements so it can effectively investigate ASW’s defenses before depositions so, for instance, it

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could be prepared to challenge specific assertions made by ASW during a deposition.

       12.        Mindful of the Court’s and parties’ resources, and to avoid further motion practice,

Art Akiane sought to obviate the need to object to Order at Dkt. 279 by asking ASW to answer

two additional, narrow interrogatories that unquestionably target the alleged oral modifications

and agreements, which are as follows:

            26)      State with specificity the circumstances surrounding the alleged oral
                     agreements between ASW and Plaintiff, including the dates of the
                     alleged agreements, the persons involved, the terms encompassed, and
                     why the alleged oral agreements were not memorialized in writing.

            27)      Identify all evidence that you contend supports your allegation that
                     Plaintiff and ASW entered into alleged oral agreements.

See Dkt. 280, Exhibit A.

       13.        ASW refused to agree to Art Akiane’s request.

       14.        Given ASW’s refusal, and to obviate the need to object to Judge Cole’s Order, Art

Akiane moved for leave to serve the two additional interrogatories on ASW (“Motion for Leave”).

Dkt. 280.

       15.        The Court ordered ASW to respond to the Motion for Leave by December 1,

2021—12 days after Art Akiane’s deadline to object to Order at Dkt. 279. Dkt. 281.

       16.        If Judge Cole grants ASW’s Motion for Leave, it will moot the need for Art Akiane

to object to the Order at Dkt. 279—thereby conserving the Court’s and the parties’ resources.

       17.        However, if Judge Cole denies the Motion for Leave, Art Akiane intends on

objecting to Judge Cole’s Order on the Motion to Compel, but wishes to be mindful of the

resources of the Court and parties until such a time as it becomes necessary, and also does not want

to waive its right to object by failing to do so by the current deadline.

       18.        If the Court denies the Motion for Extension, Art Akiane submits the foregoing as



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its objection to Order at Dkt. 279 ruling on Interrogatory Nos. 1 and 22. Dkt. 279 at 21 n. 5.1

        In view of the foregoing, and to avoid expending Court and party resources associated with

an objection to Judge Cole’s Order that may be rendered moot by Judge Cole’s pending disposition

of the Motion for Leave, Art Akiane respectfully requests that the Court extend Art Akiane’s

deadline to object to Judge Cole’s Order on the Motion to Compel (Dkt. 279) until 1 week after

Judge Cole’s disposition of the pending Motion for Leave (Dkt. 280).



Dated: November 18, 2021                          Respectfully submitted,

                                                  By: s/ Adam Wolek
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                                                  (admitted pro hac vice)

                                                  Counsel for Plaintiff and Counter-Defendants




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  Although Art Akiane believes it has additional grounds for a meritorious objection to the Court’s Order
denying its Motion to Compel (Dkt. 279), which are not addressed herein, it submits this request in an effort
to reduce inefficiencies upon the Court. Should this Court allow an extension of time, but deny its motion
for leave to serve two additional interrogatories (Dkt. 280), Art Akiane reserves and does not waive any
grounds for its objection to the Court’s Order denying its Motion to Compel for these or other reasons.

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                               CERTIFICATE OF SERVICE

       I hereby certify that, on November 18, 2021, I filed Art Akiane’s Motion for Extension of

Time to Object to the Order Denying Art Akiane’s Motion to Compel (Dkt. 279) with the Clerk

of Court via CM/ECF, which provided notice of same to all parties and counsel who have made

an appearance in this case.


Dated: November 18, 2021                           By: s/ Adam Wolek
                                                       Adam Wolek




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